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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


SHLOMO LEIBOVITCH, et al.,

               Plaintiffs,                           Civil Case No. 08 C 1939

v.                                                   Hon. Ruben Castillo

ISLAMIC REPUBLIC OF IRAN,
THE, et al.,

               Defendants.




     MEMORANDUM OF LAW OF NON-PARTIES BNP PARIBAS AND BNP PARIBAS,
       CHICAGO BRANCH IN SUPPORT OF THEIR MOTION TO QUASH THE
             SUBPOENAS AND CITATION TO DISCOVER ASSETS




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October 29, 2015
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        Non-parties BNP Paribas, Chicago Branch (“BNPP-CH”) and BNP Paribas (“BNPP”)

respectfully submit this memorandum in support of their motion to quash the document

subpoena and citation to discover assets served on BNPP-CH on August 24, 2015, and the

deposition subpoena (along with the document subpoena, the “Subpoenas”) served on BNPP-CH

on October 21, 2015. 1

                                 PRELIMINARY STATEMENT

        This matter concerns Subpoenas and a citation to discover assets served by plaintiffs on

BNPP-CH seeking to identify Iranian assets plaintiffs might use to satisfy their judgment against

Iran. BNPP-CH searched for Iranian assets and found none. But plaintiffs demand that BNPP, a

French bank, headquartered in Paris, France, now conduct a search of thousands of bank

branches worldwide. That demand, however, is foreclosed by the Supreme Court’s decision in

Daimler AG v. Bauman, which fundamentally altered the test for general jurisdiction, finding

that such jurisdiction is appropriate only over corporations “at home” in the jurisdiction. As

BNPP is not “at home” in Illinois and not subject to general jurisdiction here, plaintiffs’ demand

that BNPP search for and produce documents from anywhere in the world must be rejected. This

conclusion is not changed by the existence in Illinois of a single BNPP branch—BNPP-CH—

which, among the thousands of BNPP branches worldwide, is the sole BNPP branch located in

this state. Nor is there a basis for specific jurisdiction over BNPP, given that plaintiffs’ claims

have no connection to BNPP’s contacts with Illinois.

        The Subpoenas and citation should also be quashed to the extent that plaintiffs seek to

apply them extraterritorially. The Illinois judgment enforcement statute does not provide for

extraterritorial application and any efforts to extend its reach are barred by Illinois rules of

1
    Submitted with this memorandum are the declarations dated Oct. 29, 2015, of Stephen Christie
    (“Christie Decl.”), and of Diego A. Zambrano (“Zambrano Decl.”). The Zambrano Declaration
    attaches cited exhibits.
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statutory construction, as well as by the separate entity rule, which dictates that domestic bank

branches are not responsible for information in foreign branches. The Foreign Sovereign

Immunities Act (“FSIA”) also renders immune from execution Iranian assets outside of the U.S.

        Further, basic principles of relevance and burden require quashing the Subpoenas and

citation. Plaintiffs fail to demonstrate how their broad information demands are relevant to

identifying the narrow category of Iranian assets, if they exist, potentially subject to execution.

BNPP-CH does not have access to documents at branches located outside the U.S., and BNPP

should not be forced to bear the burden of a “worldwide” search or to assume the risk of criminal

and civil liability under the laws of France and other jurisdictions where it operates. This result is

fair: the Hague Convention can assist plaintiffs in discovering the information they seek, to the

extent it exists.

                                              FACTS

        On February 11, 2011 and March 31, 2014, plaintiffs obtained default judgments against

Iran and the Iranian Ministry of Information and Security (together, “Iran”) totaling $67 million

on claims related to terrorist attacks that took place in 2003. (Dkt. Nos. 73, 107).

        On August 24, 2015, plaintiffs purported to serve a subpoena for documents, dated

August 21, 2015 on non-parties BNPP and BNPP-CH. Christie Decl. ¶ 6; Ex. A (Document

Subpoena). The Subpoenas and related citation to discover assets (Ex. B) requested documents

and testimony from BNPP related to accounts in the name of Iran and Iranian entities. In a cover

letter, plaintiffs asserted that their discovery requests extended to “documents and information

located in any BNP branch anywhere in the world.” Ex. C (Letter from Robert J. Tolchin). A

second subpoena, Ex. H (Deposition Subpoena), was served on BNPP-CH on October 21, 2015,

seeking a deposition concerning Iranian assets worldwide.


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        While the Subpoenas and Citation name “BNP Paribas,” plaintiffs did not effect service

on BNPP’s main office in Paris, France, but instead delivered the Subpoenas and Citation to

BNPP-CH in Chicago. Christie Decl. ¶ 6. BNPP-CH is a branch of BNPP, a publicly-traded

French entity registered and organized in France, with its headquarters in Paris, France. 2 The

BNPP group includes 6,800 branches located in 75 countries. Ex. R (2013 BNPP Annual Report)

at 1, 16. BNPP-CH is the only BNPP branch in Illinois and one of three branches in the U.S.

Christie Decl. ¶ 3. BNPP-CH has no ability to obtain current account records located at the

BNPP head office, or at other BNPP branches or affiliates, and there is no centralized database of

account information shared by BNPP-CH, its parent, affiliates, subsidiaries, and its and their

branches. Id. ¶ 5.

        BNPP-CH timely served objections to the Document Subpoena and Citation on

September 8, Ex. D, and to the Deposition Subpoena on October 28, 2015, Ex. J. BNPP-CH

complied by searching its records, but found no responsive information or Iranian property.

Christie Decl. ¶ 7. 3 Counsel conferred to discuss the reach of the Subpoenas and Citation, but

plaintiffs demanded a global search of Iranian assets. Following the inability of plaintiffs and

BBNP-CH to come to an agreement on the reach of the Subpoenas and Citation, non-parties

BNPP-CH and BNPP bring this motion to quash. Zambrano Decl. ¶¶ 3-7.

                                           ARGUMENT

        This Court “should not neglect [its] power to restrict discovery . . . . [and] exercise

appropriate control over the discovery process.” Herbert v. Lando, 441 U.S. 153, 177 (1979)

2
    Ex. R (2013 BNPP Annual Report) at 81, 85; see Legal Information – BNPP (2013)
    http://www.bnpparibas.com/en/legal-information.
3
    In the spirit of cooperation, BNP Paribas, New York Branch coordinated a search for blocked assets
    of Iran in the U.S. with the BNP Paribas San Francisco Branch, the BNP Paribas Miami Agency, the
    BNP Paribas Houston Agency, and the BNP Paribas Representative Office in Dallas. Ex. E (Letter
    from C. Boccuzzi).

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(citation omitted). Discovery should be limited where “the burden or expense . . . outweighs its

likely benefit,” Fed. R. Civ. P. 26(b)(2)(C)(iii), where the information sought is not relevant to a

party’s claims, see Fed. R. Civ. P. 26(b)(1), or where the requested discovery “subjects a person

to undue burden,” Fed. R. Civ. P. 45(d)(3)(A)(iv). Motions to quash are entrusted to the

discretion of the court. Patterson v. Avery Dennison Corp., 281 F.3d 676, 681 (7th Cir. 2002).

I.      THE SUBPOENAS AND CITATION SHOULD BE QUASHED AS THERE IS NO
        PERSONAL JURISDICTION OVER BNPP

         In order to exercise its discovery power in this case, this Court must have personal

jurisdiction over non-party BNPP. See, e.g., Reinsurance Co. of Am., Inc. v. Administratia

Asigurarilor de Stat (Admin. of State Ins.), 902 F.2d 1275, 1281 (7th Cir. 1990) (“‘A court . . .

may order a person subject to its jurisdiction to produce documents.’”) (quoting Restatement

(Third) of Foreign Relations Law § 442 (1987)); Gucci Am., Inc. v. Weixing Li, 768 F.3d 122,

141 (2d Cir. 2014) (“A district court, however, must have personal jurisdiction over a nonparty

in order to compel it to comply with a valid discovery request under Federal Rule of Civil

Procedure 45.”). It is “elementary” that “courts lacking jurisdiction over litigants cannot

adjudicate their rights.” In re Sealed Case, 141 F.3d 337, 341 (D.C. Cir. 1998). This rule applies

to Illinois citations as well as subpoenas. Our Lady of Bellefonte Hosp. v. Ashland GI Servs.,

LLC, No. 11 C 6833, 2012 WL 787199, at *3 (N.D. Ill. Mar. 9, 2012) (“[party] is subject to a

citation from this court only if the court has personal jurisdiction over it”).

         General jurisdiction after Daimler AG v. Bauman is appropriate over a foreign

corporation only when that corporation is “at home” in the forum State. 134 S. Ct. 746, 754-63

(2014). BNPP, a French bank registered and organized in France, with its principal place of

business there, is not at home in Illinois. Daimler identified the place of incorporation and

principal place of business as the “paradigm[atic] . . . bases for general jurisdiction” because they

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“have the virtue of being unique—that is, each ordinarily indicates only one place—as well as

easily ascertainable.” Id. at 760 (internal citations and quotation marks omitted); Kipp v. Ski

Enter. Corp. of Wisconsin, Inc., 783 F.3d 695, 698 (7th Cir. 2015) (finding no general

jurisdiction where defendant corporation was not incorporated under the laws of, and did not

have its principal place of business in, Illinois). In Hill v. Capital One Bank (USA), N.A., this

Court applied Daimler and found no general jurisdiction over a bank with few Illinois contacts,

holding that Capital One Bank was not “at home” in this state because Illinois was not its state of

incorporation or principal place of business. No. 14-CV-6236, 2015 WL 468878, at *7 (N.D. Ill.

Feb. 3, 2015). The Court explained that its holding was supported by both Daimler and the

Second Circuit’s decision in Gucci America, Inc. v. Weixing Li where the court applied

“Daimler . . . holding that general jurisdiction did not exist over a bank with branch offices in the

New York forum, but incorporated and headquartered outside of New York.” Id.; see also

GoldenTree Asset Mgmt. LP v. BNP Paribas S.A., 64 F. Supp. 3d 1179, 1191 (N.D. Ill. 2014)

(finding no jurisdiction over foreign parent based on local subsidiary because the company had

“not . . . in any way adopted this state as a . . . de facto, or temporary home”).

         Where, as here, BNPP is not “at home” in Illinois, the Court lacks general jurisdiction.

See Kipp, 783 F.3d at 698; Gucci, 768 F.3d at 135; Kolcraft Enters., Inc. v. Artsana USA, Inc.,

No. 13-4863, 2014 WL 3865814, at *3 (N.D. Ill. Aug. 6, 2014) (finding no personal jurisdiction

over foreign parent of domestic company); Motorola Credit Corp. v. Uzan, No. 02 Civ. 666

(JSR), 2015 WL 5613077, at *2 (S.D.N.Y. Sept. 9, 2015) (finding no general jurisdiction over

non-party banks incorporated and headquartered abroad). 4 The existence of a single branch in



4
     To the extent plaintiffs seek to rely on Gates v. Syrian Arab Republic, as they indicated in prior
     correspondence, that case is inapposite because it (1) preceded Daimler, (2) involved a party that did
     not challenge personal jurisdiction (and was found to have waived that defense), and (3) involved
                                                     5
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Illinois, BNPP-CH, among thousands worldwide, see Christie Decl. ¶ 3, 5 does not change this

analysis, see Gucci, 768 F.3d at 135 (“Just like the defendant in Daimler, the nonparty Bank here

has branch offices in the forum, but is incorporated and headquartered elsewhere.”).

        Nor can plaintiffs assert a basis for specific jurisdiction over BNPP. Plaintiffs explicitly

demand a search for purported assets with no connection to this State, see Ex. C (Letter from R.

Tolchin) (demanding documents from “any BNP branch anywhere in the world”), and so their

“claims” by definition are not based on BNPP “‘purposefully direct[ing]’ [its] activities at the

state . . . [and] the injury . . . arise[ing] from [those] activities.” Hill, 2015 WL 468878, at *8. For

specific jurisdiction, “not just any contacts will do: ‘For a State to exercise jurisdiction consistent

with due process, the defendant’s suit-related conduct must create a substantial connection with

the forum State.’” Advanced Tactical Ordnance Sys., LLC v. Real Action Paintball, Inc., 751

F.3d 796, 801 (7th Cir. 2014). No “suit-related” conduct of BNPP is at issue here, and thus there

is no basis for specific jurisdiction over the bank. Given the lack of connection to Illinois, and

the availability to plaintiffs of other means of obtaining the information, the assertion of

jurisdiction over BNPP does not comport with the Constitutional requirement of “fair play and

substantial justice.” Walden v. Fiore, 134 S. Ct. 1115, 1121-23 (2014).

        Finally, international comity concerns support quashing the Subpoenas and Citation. The

“risks to international comity [of an] expansive view of general jurisdiction,” Daimler, 134 S. Ct.

at 763, are precisely the type presented in this case, where BNPP is being asked to search for

information with no regard for the sovereignty of other countries or the unfairness to BNPP,

which risks criminal and civil liability if it acts contrary to the bank secrecy and privacy laws of

     documents located in New York. No. 11 C 8715, 2013 WL 1337214, at *3 (N.D. Ill. Mar. 29, 2013).
     The court in Gates expressly limited its decision to domestic U.S. branches. Id. at *3 n.2.
5
     BNPP-CH employs less than fifty individuals, less than 0.03% of BNPP’s global workforce. Christie
     Decl. ¶ 4.

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its home jurisdiction and other jurisdictions in which it operates. See infra at pp. 14-15; see also

Ex. S (Blossom Decl. ¶ 7); Ex. T (Conac Decl. ¶¶ 9-11). The Supreme Court has noted that

“[o]ther nations do not share the uninhibited approach to personal jurisdiction” that some U.S.

courts had advanced prior to Daimler. Daimler, 134 S. Ct. at 763; see also In re Perrier Bottled

Water Litig., 138 F.R.D. 348, 355 (D. Conn. 1991) (noting “France has been among the most

emphatic” in disfavoring use of Federal Rules over Hague Convention). As a matter of comity,

the assertion of jurisdiction over BNPP here is inappropriate after Daimler. See Basic v. Fitzroy

Eng’g, Ltd., 949 F. Supp. 1333, 1340 (N.D. Ill. 1996) (“In accord with the principle of comity

between sovereign nations, a district court should decline to exercise jurisdiction under certain

circumstances in deference to the laws and interests of another foreign country.”), aff’d, 132 F.3d

36 (7th Cir. 1997); Ings v. Ferguson, 282 F.2d 149, 152 (2d Cir.1960) (“Upon fundamental

principles of international comity, our courts dedicated to the enforcement of our laws should not

take such action as may cause a violation of the laws of a friendly neighbor.”).

II.   THE SUBPOENAS AND CITATION DO NOT APPLY EXTRATERRITORIALLY

       The Citation should be quashed because plaintiffs seek impermissibly to apply to foreign

entities and documents an Illinois statute that has no extraterritorial reach. Illinois embraces the

“long-standing rule of construction . . . which holds that a statute is without extraterritorial effect

unless a clear intent in this respect appears from the express provisions of the statute.” Avery v.

State Farm Mut. Auto. Ins. Co., 216 Ill. 2d 100, 184-85, 835 N.E.2d 801, 852-53 (2005) (Illinois

statute did not apply outside of Illinois) (quotation marks omitted); see also Morrison v. Nat’l

Australia Bank Ltd., 561 U.S. 247 (2010). Plaintiffs served the Citation pursuant to Rule 1402 of

the Illinois Code of Civil Procedure, a provision that gives no indication of extraterritorial effect.

735 ILCS 5/2-1402. Therefore, to the extent plaintiffs seek information located abroad, if such

information exists, they cannot do so under Rule 1402. See Cromeens, Holloman, Sibert, Inc. v.
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AB Volvo, 349 F.3d 376, 386 (7th Cir. 2003) (Illinois statute did not apply extraterritorially);

Graham v. Gen. U.S. Grant Post No. 2665, V.F.W., 43 Ill.2d 1, 7, 248 N.E.2d 657, 660-61

(1969) (same); accord Craft v. Chopra, 907 P.2d 1109, 1112 (Ct. App. Okla. 1995) (finding “no

statutory authority in . . . the Oklahoma Discovery Code contemplating extra-territorial effect of

Oklahoma discovery process”); Ex. U (Order, Stansell v. Revolutionary Armed Forces of

Colombia (FARC), No. 09-cv-2308 (M.D. Fla. July 22, 2015) (Florida garnishment statute does

not apply extraterritorially)).

         The purported extraterritorial reach of the Subpoenas and Citation are also improper

under the separate entity rule, which instructs that BNPP-CH has no responsibility for accounts

located in foreign branches. See In re Estate of Marcos Human Rights Litig., No. 97 C 0477,

1997 WL 428544, at *4 (N.D. Ill. July 24, 1997) (predicting that Illinois Supreme Court would

uphold separate entity rule in case involving Chicago bank branch that had no access to

information in foreign branches); accord Motorola Credit Corp. v. Standard Chartered Bank, 24

N.Y.3d 149, 156, 162 (2014) (reaffirming separate entity rule, noting “courts have continued to

recognize the practical constraints and costs associated with conducting a worldwide search for a

judgment debtor’s assets”). 6

         The FSIA, the sole basis for jurisdiction over foreign nations in U.S. courts, provides a

further basis to vacate plaintiffs’ Citation to the extent it purports to restrain alleged Iranian

assets outside of the U.S. 28 U.S.C. § 1610; see also Autotech Techs. LP v. Integral Research &

6
     While the Illinois Supreme Court has never decided the issue, the New York Court of Appeals
     recently reaffirmed the continuing importance of the separate entity rule in a well-reasoned opinion.
     Motorola Credit Corp. v. Standard Chartered Bank, 24 N.Y.3d 149, 157 (2014). Although one
     Illinois appellate court has suggested that Illinois may not follow the separate entity rule, see In re
     Marriage of Kosmond, 830 N.E.2d 596, 601 (Ill. App. Ct. 2005), that suggestion was made in a
     different context, involving a pre-judgment marriage dissolution claim seeking assets in one specific
     German branch, and did not contemplate the ramifications of an overbroad “worldwide” search, such
     as the one demanded here. Indeed, even in Kosmond, the court remanded the issue of foreign
     discovery to the trial court, ordering it to consider principles of international comity. Id.
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Dev. Corp., 499 F.3d 737, 750 (7th Cir. 2007); Argentina v. Amerada Hess Shipping Corp., 488

U.S. 428, 439 (1989). Only property of a foreign state that is both located in the U.S. and used

for a commercial activity here may be subject to execution, see 28 U.S.C. § 1610(a); all other

property is categorically immune from restraint under the FSIA. Autotech, 499 F.3d at 750.

Iranian assets located outside of the U.S. fail to meet these requirements. And plaintiffs

otherwise fail to identify the specific property they seek to restrain and establish that it may be

executed on under Section 1610. See Rubin v. Islamic Republic of Iran, 637 F.3d 783, 796 (7th

Cir. 2011) (“plaintiff[s] must identify the particular foreign-state property he seeks to attach”).

III.   THE SUBPOENAS FLOUT THE BASIC STANDARDS FOR POST-JUDGMENT
       DISCOVERY UNDER FEDERAL RULES 26 AND 69 AS THEY IMPOSE AN
       UNDUE BURDEN AND SEEK IRRELEVANT INFORMATION

        Plaintiffs’ Subpoenas are not “reasonably calculated” to lead to the production of

information about property subject to execution, and should be quashed especially where, as

here, the lack of any showing of relevance is coupled with the burden plaintiffs seek to impose

on BNPP. See Fed. R. Civ. P. 26(b)(2)(C)(iii), 45(d)(3)(A)(iv). Courts routinely prohibit asset

discovery that fails to include reasonable limitations, including geographical restrictions, as

overly broad. See, e.g., Parker v. Four Seasons Hotels, Ltd., 291 F.R.D. 181, 189 (N.D. Ill. 2013)

(quashing non-party subpoena because “it seeks irrelevant information and would clearly subject

[the non-party] to an undue burden”). Concerns with scope are particularly salient where the

subpoena involves a non-party, as “it has been consistently held that ‘non-party’ status is a

significant factor to be considered in determining whether the burden imposed by a subpoena is

undue . . . while parties must accept the burdens of litigation, non-parties have different

expectations.” Id. at 188; see also Robinson v. Stanley, No. 06 C 5158, 2010 WL 1005736, at *3

(N.D. Ill. Mar. 17, 2010) (“It is one thing to subject parties to the trials and tribulations of

discovery . . . but [a non-party] doesn’t have a horse in [the] race.”) (emphasis in original).
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       Here, plaintiffs have made no showing that their broad demands are relevant to the

narrow category of assets potentially subject to seizure by plaintiffs—namely Iranian

commercial assets—and that failing alone demonstrates that the Subpoenas fail to meet the

requirements of Rules 26 or 69. See Fed. R. Civ. P. 26(b)(2)(C); 69(a)(2). The burden imposed is

especially high where, as here, plaintiffs request non-parties such as BNPP-CH to search

documents that it cannot access, and BNPP-CH has no means by which to search the globe for

alleged Iranian property at other BNPP branches (of which there are over 6,800). Ex. A

(Document Subpoena). The risks inherent in potential violations of a host of bank secrecy and

other foreign laws to which BNPP is subject, see infra at 14-15, are significant.

       As set out in BNPP-CH’s responses and objections, Ex. D, and confirmed in the Christie

Declaration, ¶¶ 5-7, BNPP-CH lacks information concerning alleged Iranian assets outside of the

U.S., and so plaintiffs have no basis to demand a deposition. Cohn v. Taco Bell Corp., No. 92 C

5852, 1993 WL 451463, at *5 (N.D. Ill. Nov. 1, 1993) (granting motion to quash where “any

information received would be cumulative to that [already] gained”); see also Textile Banking

Co., Inc. v. Rentschler, 657 F.2d 844, 851 (7th Cir. 1981) (noting appearance in person exists

“for the convenience of the parties”). Further, plaintiffs cannot seek to depose a BNPP official

because this court lacks personal jurisdiction over BNPP, see supra Part I, and such a request

violates Rule 45’s limitation on depositions to within 100 miles of BNPP’s place of business. See

Estate of Klieman v. Palestinian Auth., 293 F.R.D. 235, 239 (D.D.C. 2013) (“[U]nder Rule 45

this Court must quash a subpoena where a nonparty organization does not employ anyone who is

suitable to serve as a Rule 30(b)(6) representative within 100 miles of the district.”).




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IV.   PLAINTIFFS SHOULD USE THE HAGUE CONVENTION OR THE
      PROCEDURES AVAILABLE IN RELEVANT FOREIGN JURISDICTIONS

       Illinois courts recognize that principles of international comity compel courts to consider

and defer to foreign law where appropriate. Ransom v. A.B. Dick Co., 289 Ill. App. 3d 663, 670,

682 N.E.2d 314, 320 (1st Dist. 1997). Even were jurisdiction found to exist over BNPP,

principles of international comity and sovereignty weigh in favor of proceeding through the

Hague Convention. Cf. Reinsurance Co. of Am., 902 F.2d at 1279-80 (affirming denial of motion

to compel post-judgment discovery based on concerns with Romanian law).

       The Hague Convention is a treaty designed precisely to accommodate comity concerns

with international discovery, allowing parties to request extraterritorial discovery with the aid of

foreign governments. See The Hague Convention, Mar. 18, 1970, 23 U.S.T. 2555, TIAS No.

7444 (codified at 28 U.S.C. § 1781). Courts around the country have emphasized that the Hague

Convention is particularly applicable in cases dealing with non-parties because of heightened

comity concerns. See, e.g., Cascade Yarns, Inc. v. Knitting Fever, Inc., No. C10-861 RSM, 2014

WL 202102, at *2 (W.D. Wash. Jan. 17, 2014) (“Use of Hague Convention procedures is

particularly relevant where, as here, discovery is sought from a non-party in a foreign

jurisdiction.”); Tulip Computers Int’l B.V. v. Dell Computer Corp., 254 F. Supp. 2d 469, 474 (D.

Del. 2003) (Hague Convention appropriate where subpoenaed parties “are not parties to the

lawsuit, have not voluntarily subjected themselves to discovery, are [foreign citizens], and are

not otherwise subject to the jurisdiction of the Court”); S.E.C. v. Stanford Int’l Bank, Ltd., 776 F.

Supp. 2d 323, 341 (N.D. Tex. 2011) (ordering discovery of foreign non-party through the Hague

Convention); CE In’l Res. Holdings, LLC v. S.A. Minerals Ltd. P’ship, No. 12-CV-08087 (CM)

(SN), 2013 WL 2661037, at *14 (S.D.N.Y. June 12, 2013) (“‘An order compelling production

should be imposed on a nonparty . . . only in extreme circumstances.’”); Intercontinental Credit

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Corp. v. Roth, 595 N.Y.S.2d 602 (Sup. Ct. N.Y. Cty. 1991) (Hague Convention is “virtually

compulsory” where disclosure is sought from foreign non-parties).

         Here, the factors identified by courts to determine whether comity compels the use of the

Hague Convention all weigh in favor of requiring plaintiffs to proceed through the Hague

Convention. See Société Nationale Industrielle Aérospatial v. U.S. Dist. Court for S. Dist. of

Iowa, 482 U.S. 522, 543 n.28, 544 (1987). The factors include: (1) “the importance to the

investigation or litigation of the documents or other information requested,” (2) “the degree of

specificity of the request,” (3) “whether the information originated in the United States,” (4) “the

availability of alternative means of securing the information,” and (5) the competing national

interests of the United States and the country where the information is located. See id.;

Reinsurance Co. of Am., 902 F.2d at 1279-80 (citations omitted).

         Importance to litigation. While information concerning Iranian assets potentially

subject to execution is the focus of plaintiffs’ discovery efforts, plaintiffs have not demonstrated

that BNPP has such information, particularly given the execution limitations imposed by the

FSIA to assets in the United States. 7 See 28 U.S.C. § 1610. Like the U.S. FSIA, French law

protects as immune from execution non-commercial Iranian assets. See e.g., Ex. M-N (Cour de

Cassation [Cass.][French Supreme Court], 1e, Jan. 25, 2005, no. 03-18.176) (stating principle

that foreign state property is immune from execution except when it is “connected, not to the

exercise of a sovereign activity, but to an economic, commercial or civil transaction governed by


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     Based on discussions with plaintiffs’ counsel, plaintiffs may invoke the Supreme Court’s decision in
     Republic of Argentina v. NML Capital, Ltd., 134 S. Ct. 2250 (2014). Such reliance is misguided. NML
     decided the “narrow question” of whether the FSIA provides foreign states with “immunity” from
     discovery. Id. at 2255. The case did not consider or apply the multi-factor comity test at issue here,
     and whether a party could disregard the Hague Convention where, as here, the party had failed to
     make a plausible showing that a third party had documents of true importance to the litigation. The
     Supreme Court in NML noted that “information that could not possibly lead to executable assets is
     simply not ‘relevant’ to execution in the first place.” Id. at 2257.

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private law which gives rise to the legal action”); Ex. O-P (Code Des Procédures Civiles

D'exécution, Art. L111-1 (Fr.)) (“Enforcement and provisional measures do not apply to persons

benefitting from an immunity from execution.”). Even apart from the limitations imposed by the

FSIA and French law, application of the separate entity rule precludes a plaintiff from seeking to

restrain or seize an asset at one bank branch through process on another. In re Estate of Marcos

Human Rights Litig., 1997 WL 428544, at *4 (N.D. Ill. July 24, 1997) (applying separate entity

rule to Chicago branch of a foreign bank).

       Foreign origin of the documents. Plaintiffs recognize the lack of responsive information

in the U.S. and are demanding documents that are located and originated overseas. Ex. C (Letter

from Robert J. Tolchin) (demanding information “located in any BNP branch anywhere in the

world”). This weighs heavily in favor of plaintiffs proceeding under the Hague Convention. See

Linde v. Arab Bank, PLC, 262 F.R.D. 136, 150 (E.D.N.Y. 2009).

       The degree of specificity of the request. Given its purported worldwide scope, the

Subpoenas cannot be said to be “narrowly tailored” nor “designed solely to target discreet . . .

information.” See In re Perrier, 138 F.R.D. at 355 (plaintiff must employ Hague Convention

procedures in pursuing discovery from French defendant); MeadWestvaco Corp. v. Rexam PLC,

No. 1:10CV511 (GBL/TRJ), 2010 WL 5574325, at *1 (E.D. Va. Dec. 14, 2010) (noting “courts

have found the determinative factors [regarding this element] whether the discovery requests are

excessive and whether the party seeking discovery is willing to narrow the[ir] scope”).

       Alternative means of retrieval. Plaintiffs have available alternative means of retrieval

apart from the Subpoenas, namely through the Hague Convention. See Tiffany (NJ) LLC v. Qi

Andrew, 276 F.R.D. 143, 152-56 (S.D.N.Y. 2011) (finding availability of Hague Convention

procedures weighed against enforcement of subpoena). Use of the Hague Convention would also


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avoid the potential hardship of placing BNPP in the untenable position of having to choose

between complying with this Court’s order and violating other countries’ civil and criminal laws.

Cf. Reinsurance Co. of Am., 902 F.2d at 1279-80 (refusing to require production of documents in

Romania given Romanian secrecy laws).

        Competing national interests. The status of BNPP and BNPP-CH as nonparties to the

litigation “attenuate[s] the United States interest in enforcing discovery obligations.” Qi Andrew,

276 F.R.D. at 157; see also Ings v. Ferguson, 282 F.2d 149, 152; Minpeco, S.A. v.

Conticommodity Servs., Inc., 118 F.R.D. 331, 333-34 (S.D.N.Y.1988). Moreover, the U.S.

interest in this case is even more attenuated because plaintiffs are private civil litigants, not an

enforcement agency or criminal prosecutor.

        On the other hand, France, where BNPP is headquartered, has emphasized that resort to

the Hague Convention is the only appropriate way for U.S. litigants to obtain discovery from

France. See, e.g., In re Perrier Bottled Water Litig., 138 F.R.D. at 355; see also Ex. K (Cutajar

Decl.); Blagman v. Apple, Inc., 12 Civ. 5453 (ALC) (JCF), 2014 WL 1285496, at *4 (S.D.N.Y.

Mar. 31, 2014) (issuing letters rogatory for documents in France through the Hague Convention);

Ex. L at 3-4 (French Blocking Statute, Law no. 80-538 of July 16, 1980) (providing for criminal

sanctions, including prison). French law prohibits the production of documents in France for use

in civil discovery elsewhere, except when the documents are requested in compliance with an

international convention or procedures set forth under French law. See In re Activision Blizzard,

Inc., 86 A.3d 531, 535-39 (Del. Ch. 2014) (ordering discovery of French company to proceed in

part through the Hague Convention). The French Data Protection Act imposes criminal penalties,

including imprisonment and substantial fines, and has been enforced “at least a dozen” times

since 2006. Id. at 538 (“first violation . . . is punishable by criminal sanctions . . . and


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imprisonment of up to five years”). Less than three weeks ago, the Court of Justice of the

European Union ruled that companies based in Europe cannot transfer customer data to the

United States. C-362/14, Maximillian Schrems v. Data Prot. Comm’r, 2015 E.C.R. I-1.

       An order requiring BNPP to comply with the Subpoenas and Citation would improperly

subject BNPP to the real risk of violating these French laws and the laws of other countries. In In

re Fairfield Sentry Ltd., the court denied a motion for an order directing foreign bank defendants

(including several BNPP entities) to make limited expedited initial disclosures. Ex. Q (No. 10-

13164 (BRL), Bench Ruling (S.D.N.Y. July 19, 2012)). In denying the disclosures, the court

noted that the requests implicated “significant bank customer confidentiality laws of no fewer

than 30 countries, attested to by numerous declarations of foreign law experts.” Id. at 2. The

disclosure request implicated 22 jurisdictions where BNPP branches, subsidiaries, or affiliates

are located, highlighting the comity concerns here as well. Conducting extraterritorial discovery

under the Hague Convention is therefore imperative here.

                                         CONCLUSION

               The Court should grant the motion of BNPP-CH and BNPP to quash the

Subpoenas and Citation.

Dated: October 29, 2015                              Respectfully submitted,

                                                     NON-PARTIES BNP PARIBAS AND BNP
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